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 1                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK
 2

 3       UNITED STATES OF AMERICA,       ) Criminal
                                         ) No. 15-601 (DLI)
 4                       Plaintiff,      )
                                         ) STATUS CONFERENCE
 5       vs.                             )
                                         ) Brooklyn, New York
 6       YING LIN,                       ) Date: January 15, 2016
                                         ) Time: 3:30 p.m.
 7                       Defendant.      )
     ___________________________________________________________
 8
                     TRANSCRIPT OF STATUS CONFERENCE
 9                              HELD BEFORE
                  THE HONORABLE JUDGE DORA L. IRIZARRY
10                     UNITED STATES DISTRICT JUDGE
     ____________________________________________________________
11
                            A P P E A R A N C E S
12
     For the Plaintiff:          Alexander A. Solomon, AUSA
13                               Douglas M. Pravda, AUSA
                                 US Attorney's Office
14                               Eastern District of New York
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15                               Brooklyn, New York 11201
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16
     For the Defendant:          Deborah Austern Colson, Esq.
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19

20   Proceedings reported by machine shorthand, transcript produced
     by computer-aided transcription.
21   ____________________________________________________________

22   Court Reporter:       Annette M. Montalvo, CSR, RDR, CRR
                           Official Court Reporter
23                         United States Courthouse, Room N330
                           225 Cadman Plaza East
24                         Brooklyn, New York 11201
                           718-804-2711
25



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 1              (WHEREUPON, commencing at 3:07 p.m., the following

 2   proceedings were had in open court, to wit:)

 3              THE COURTROOM DEPUTY:      Criminal cause for status

 4   conference, Docket No. 15-CR-601, United States v. Ying Lin.

 5              Counsel, please identify yourself for the record.

 6              MR. SOLOMON:    Good afternoon, Your Honor.       Alexander

 7   Solomon and Douglas Pravda for the government.

 8              THE COURT:    Good afternoon.

 9              For the defendant.

10              MS. COLSON:    Deborah Colson for Ms. Ying Lin, and I

11   have a paralegal with me.

12              THE COURT:    Good afternoon to all three of you, and

13   also to the Mandarin language interpreter who is assisting

14   Ms. Lin.

15              If we could have your name, please, for the record.

16              THE INTERPRETER:     John Lau.

17              THE COURT:    Good afternoon, sir.      And if the

18   courtroom deputy would please administer the oath to Mr. Lau.

19              (WHEREUPON, the Interpreter was duly sworn.)

20              THE COURT:    This matter is on for a status

21   conference.   And so where are we in this matter, Mr. Solomon?

22              MR. SOLOMON:    Yes, Your Honor.

23              Since the last status conference, we have provided

24   additional Rule 16 disclosures.       We will complete the Rule 16

25   disclosures very soon.     We informed Ms. Colson that we will be



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 1   providing her with additional bank records, and I think those

 2   are almost ready to provide.

 3                Additionally, we have been reviewing our classified

 4   holdings for Brady information or any information relevant to

 5   structuring.    At this juncture, we have not located any Brady

 6   or structuring material.      I understand that the review should

 7   be completed within three to four months.        We will try to

 8   accelerate that process.

 9                What I discussed with Deborah Colson, I don't know

10   if she's in agreement, is possibly coming back before

11   Your Honor in approximately 45 days for another status

12   conference.

13                MS. COLSON:    That's fine with us, Your Honor.

14                THE COURT:    Okay.   How many more weeks did you say

15   that you think it will take to go through the classified

16   materials?

17                MR. SOLOMON:   Three to four months, Your Honor.

18                THE COURT:    Three to four months.

19                And you tell me, Ms. Colson, that that's okay with

20   you, for a 45-day adjournment to see where we are?

21                MS. COLSON:    Yes.

22                THE COURT:    Okay.   Is there anything that the

23   defense is going to request of the Court?        Anything that you

24   need?

25                MS. COLSON:    No, not today, Your Honor.     Thank you.



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 1              I made one additional discovery request of the

 2   government.   I believe they are looking for the information I

 3   inquired about.

 4              THE COURT:    Okay.    Are the parties available March

 5   11?   It might be a little bit more than your 45-day mark.          I

 6   have 11:00 available, I have 12:00 available.

 7              MR. SOLOMON:    One moment, please, Your Honor.

 8              THE COURT:    Of course.      And this classified review

 9   is in connection with any possibly CIPA motion, correct?

10              MR. SOLOMON:    Yes, Your Honor.

11              THE COURT:    Okay.    Just so that the record is clear.

12              Is that date good for you, Ms. Colson?

13              MS. COLSON:    It is.    Thank you, Your Honor.

14              THE COURT:    Any time preference?      I have 11:00, I

15   have noon, and I have 3:00 or 4:00 available.

16              MS. COLSON:    The morning is a little better.

17              THE COURT:    Okay.

18              MR. SOLOMON:    The morning works actually better for

19   Mr. Pravda as well.

20              THE COURT:    Okay.    Preference for 11:00 or 12:00?

21              MR. SOLOMON:    11:00, that would be fine.

22              THE COURT:    11:00?

23              MS. COLSON:    That's fine, Your Honor.

24              THE COURT:    11:00 is good for everyone?

25              MS. COLSON:    Thank you.



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 1                THE COURT:    So we will adjourn this matter to March

 2   11, at 11:00, in the morning.

 3                And, Ms. Colson, does your client consent to the

 4   exclusion of time?

 5                MS. COLSON:    Yes, Your Honor.

 6                THE COURT:    And time is excluded on consent, and in

 7   the interest of justice for the reasons stated on the record.

 8                Anything else that the parties want to address with

 9   the Court?

10                MR. SOLOMON:   No.     Thank you, Your Honor.

11                THE COURT:    And since we are all here, anyway, I

12   have been in touch with the court security officer, and so

13   chambers' security clearances are -- at least the process has

14   been started.

15                And I think, Ms. Colson, yours should be either done

16   or fairly close to being done.        Have you heard from them?

17                MS. COLSON:    I have not.   And when I inquired after

18   the last court appearance, I was provided with the same answer

19   I received for nearly the past year, which is that I don't

20   think they have gotten to the review yet.        It was a renewal

21   request, not a first request, but that I can continue

22   reviewing classified information --

23                THE COURT:    Right.    That was the impression that I

24   was given from the officer, that you could continue to review

25   documents, if it is necessary.        But I will have my clerk check



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 1   on this anyway, just to be on the safe side.

 2              MS. COLSON:    Thank you.      Appreciate that.

 3              THE COURT:    Especially since we have a little bit of

 4   time to play with here, we can nudge it along a little bit.

 5              MS. COLSON:    Okay.    Thank you.

 6              MR. SOLOMON:    Thank you, Your Honor.      Have a nice

 7   weekend.

 8              THE COURT:    Thank you.      Have a good weekend.

 9              Thank you, Mr. Lau.

10              Oh, since the officer is here, how are we doing with

11   Ms. Colson's check?

12              If we can have your name for the record.

13              MR. RUCKER:    Harry Rucker, litigation security.

14   R-u-c-k-e-r.

15              THE COURT:    So how are we moving along?

16              MR. RUCKER:    Exactly how you described.       It is still

17   under reinvestigation.     She had a previous clearance; however,

18   as you know, she can have access to classified information,

19   should that need arise, and when it is completed, if we

20   haven't heard anything unfavorable, then she will be good to

21   go, completely.

22              THE COURT:    Okay.    So far okay.   Thank you very

23   much.   And have a safe trip.

24              (WHEREUPON, at 3:42 p.m., the proceedings

25   concluded.)



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 1   UNITED STATES DISTRICT COURT      )
                                       )   ss.
 2   EASTERN DISTRICT OF NEW YORK      )

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 5                          REPORTER'S CERTIFICATE

 6

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 8              I, ANNETTE M. MONTALVO, do hereby certify that the

 9   above and foregoing, consisting of the preceding 6 pages,

10   constitutes a true and accurate transcript of my stenographic

11   notes and is a full, true and complete transcript of the

12   proceedings to the best of my ability.

13              Dated this 3rd day of February, 2016.

14

15                                    /s/Annette M. Montalvo________
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